 Case 16-30672     Doc 45   Filed 12/13/17 Entered 12/13/17 11:31:00     Desc Main
                              Document     Page 1 of 1


                      UNITED STATES BANKRUPTCY COURT
                          DISTRICT OF NORTH DAKOTA


In Re:                                        Case No. 16-30672

Vortex Drain Tiling LLC,                      Chapter 7

                Debtor.
_________________________________/


                  NOTICE OF APPOINTMENT OF NEW TRUSTEE

TO ALL CREDITORS AND PARTIES IN INTEREST:

NOTICE IS GIVEN that Trustee Erik A. Ahlgren and Trustee David G. Velde have
resigned their appointment as bankruptcy trustee in the above-named case. The new
bankruptcy trustee in the above-named case is:

                                  Forrest C. Allred
                                 Bankruptcy Trustee
                            14 Second Ave. SE, Suite 200
                                Aberdeen, SD 57401
                                   605-225-3933

All other information contained in the Notice of Chapter 7 Bankruptcy Case remains the
same. Please contact the Clerk’s Office for any other questions.

                                 Dianne G. Schmitz, Clerk
                                 United States Bankruptcy Court
                                 Quentin N. Burdick United States Courthouse
                                 655 1st Avenue North, Suite 210
                                 Fargo, ND 58102-4392


Dated: December 13, 2017         By:   /s/ Caryl Krone
                                       Caryl Krone, Deputy Clerk
